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                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12
13   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
14                                                ATTORNEY DECLARATION OF
                                Plaintiff,        KYLE ROCHE IN OPPOSITION TO
15                                                DEFENDANTS’ MOTION TO
                   v.
                                                  DISMISS THE AMENDED
16                                                COMPLAINT
     DFINITY USA RESEARCH LLC, DFINITY
17   FOUNDATION, and DOMINIC WILLIAMS,
                                                  Date:      July 14, 2022
                                Defendants.       Time:      10:00 a.m.
18                                                Courtroom: 11, 19th Floor
                                                  Judge:     Hon. James Donato
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       DECLARATION OF KYLE ROCHE IN OPPOSITION TO DEFENDANTS’ MOTION TO
                            DISMISS – No. 3:21-cv-06118
 1                                  DECLARATION OF KYLE ROCHE
 2          I, Kyle Roche, declare:
 3          1.    I am an attorney admitted in New York and pro hac vice to appear before this Court.
 4   I am a partner with the law firm Roche Freedman LLP, counsel to Plaintiffs in this action. I submit
 5   this declaration on my own personal knowledge. If called to testify to the matters herein, I could
 6   and would competently do so.
 7          2.    I submit this declaration in opposition to Defendants’ Motion to Dismiss the Amended
 8   Complaint.
 9          3.    Attached as Exhibit A is a true and correct copy of the Order Sustaining Demurrers
10   with Leave to Amend, dated April 7, 2022, from the case captioned Daniel Ocampo v. Dfinity USA
11   Research LLC et al., Case No. 21-CIV-03843 (Cal. Super. Ct. San Mateo Cnty.).
12          4.    Attached as Exhibit B is a true and correct copy of the complaint filed by Sacha
13   Williams on June 28, 2021, in the case captioned Sacha Williams v. Dominic Williams et al., Case
14   No. 21-CV-384865 (Cal. Super. Ct. Santa Clara Cnty.).
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16          I declare under penalty of perjury under the laws of the United States that the foregoing is
17   true and correct to the best of my knowledge.
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     Dated: June 3, 2022                        Respectfully Submitted,
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                                                ROCHE FREEDMAN LLP
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                                                /s/ Kyle W. Roche
21                                              Kyle W. Roche
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23                                              Counsel for Plaintiffs

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        DECLARATION OF KYLE ROCHE IN OPPOSITION TO DEFENDANTS’ MOTION TO
                             DISMISS – No. 3:21-cv-06118
